                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,                      )
                                               )
               v.                              )       Crim. No. 16-10137-LTS
                                               )
(1) KENNETH BRISSETTE, and                     )
(2) TIMOTHY SULLIVAN                           )
                                               )

    GOVERNMENT’S RESPONSE TO DEFENDANTS’ SUPPLEMENTAL BRIEF IN
SUPPORT OF THEIR MOTION IN LIMINE TO EXCLUDE TESTIMONY CONCERNING
THE “LEGALITY” OF CONDITIONING CITY ACTION ON THE USE OF UNION LABOR

       The United States of America, by Andrew E. Lelling, United States Attorney, Laura J.

Kaplan and Kristina E. Barclay, Assistant United States Attorneys for the District of Massachusetts,

submits this response to the Supplemental Brief in Support of Defendants’ Motion in Limine to

Exclude Testimony Concerning the “Legality” of Conditioning City Action on the Use of Union

Labor (Docket No. 242) (Supplemental Brief). Because this Court has already held that the

evidence at issue is relevant and admissible, and because the Supplemental Brief presents no

argument not already considered by the Court in denying a motion to exclude the very evidence at

issue, the Court should deny the instant motion. See Order on Defendants’ Renewed Motion to

Dismiss and Other Pending Motions (the February 2018 Order), Docket No. 192, at 9-11.

       In the February 2018 Order, the Court specifically addressed the same evidence at issue in

the Supplemental Brief: evidence that Brissette was told in or around the summer of 2014 that it was

not permissible to demand a union contract for permitting success. Id., at 9 (citing Third

Superseding Indictment, Docket No. 177 ¶¶ 8-15); Docket No. 242, at 1-2. The Court held that the

evidence “plainly is relevant to an element the government must prove as to each of the crimes

charged: Brissette’s willfulness, knowledge, and/or intent.” Docket No. 192, at 10. The Court

further noted that the evidence “is relevant to establishing and explaining the government’s


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allegation that the defendants’ interactions with Crash Line conveyed implicit, rather than

explicit, threats to withhold permits.” Citing the same case on which defendants ground their

Supplemental Brief, United States v. DeCicco, 370 F.3d 206, 210-11 (1st Cir. 2004), the Court

further rejected the exact “propensity” argument made in the Supplemental Brief, noting that

“the government has identified uses, beyond showing mere propensity, for which Rule 404(b)

allows such ‘other acts’ evidence to be admitted: specifically, Brissette’s knowledge, the absence

of mistake or accident, and the alleged existence of a common plan during the relevant time

period to coerce companies producing events in Boston to hire union workers.” Id. (citing

Docket No. 140, at 5-7. Finally, the Court declined to exclude the evidence because “on the

present record, the Court is not persuaded that the ‘Top Chef’ evidence fails the balancing test

required by Rule 403 as a general matter,” and noted that “Brissette’s concerns regarding jury

confusion and improper or prejudicial consideration of the evidence by jurors can be ameliorated

by clear and timely limiting instructions.” Id., at 10-11.

       The evidence the government intends to introduce is highly probative and relevant, as the

government has previously argued and the Court previously held. Accordingly, such evidence

should be admitted.




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       WHEREFORE, for the reasons set forth herein, the government respectfully requests that

the Court deny the Motion.

                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE


       I hereby certify that, on the date below, this document was served on counsel for the
defendants by electronic mail.

                                                    /s/ Kristina E. Barclay
                                                    KRISTINA E. BARCLAY
                                                    Assistant U.S. Attorney

Dated: May 31, 2019




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